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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                    Plaintiff,

       v.                              //             CRIMINAL NO. 1:12CR1-1
                                                          (Judge Keeley)

HARVEY BREWER,

                    Defendant.


                  ORDER ADOPTING REPORT AND RECOMMENDATION

       On February 22, 2012, the defendant, Harvey Brewer (“Brewer”)

filed a pro se motion to dismiss indictment (dkt. no. 22). Pursuant

to 28 U.S.C. § 636(b)(1), the Court referred this matter to United

States      Magistrate      Judge   John    S.    Kaull    for    a    report      and

recommendation. On March 2, 2012, Magistrate Kaull issued an

Opinion     and    Report    and    Recommendation      (“R&R”)       in   which    he

recommended       that   Brewer’s    motion      be   denied     (dkt.     no.   28).

Magistrate Kaull determined that the defendant is not entitled to

file any pro se motions because he is represented by counsel; that

the motion is untimely; and that the motion has no legal merit.

Brewer filed objections to the R&R on February 15, 2012 (dkt. no.

53).

       After conducting a de novo review, the Court concludes that

Brewer’s objections lack legal merit. Accordingly, the Court ADOPTS

the Report and Recommendation in its entirety (dkt. no. 28) and

DENIES Brewer’s pro se motion to dismiss indictment (dkt. no. 22).
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USA v. HARVEY BREWER                                               1:12CR1-1

               ORDER ADOPTING REPORT AND RECOMMENDATION

      It is so ORDERED.

      The Court DIRECTS the Clerk to transmit copies of this Order

to counsel of record.

DATED: March 16, 2012.


                                    /s/ Irene M. Keeley
                                    IRENE M. KEELEY
                                    UNITED STATES DISTRICT JUDGE




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